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 8   Email: pcozens@aol.com
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10   Attorney for Defendant Carolyn Huerta
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13
14                           IN THE UNITED STATES DISTRICT COURT
15
16                         FOR THE EASTERN DISTRICT OF CALIFORNIA
17
18   UNITED STATES OF AMERICA,           )                Case No. 2:11-CR-0119-03 WBS
19                                       )
20               Plaintiff,              )                STIPULATION FOR CONTINUANCE OF
21                                       )                DEFENDANT HUERTA’S
22                                       )                SENTENCING HEARING FROM
23               v.                      )                SEPTEMBER 9, 2013 TO OCTOBER 21,
24                                       )                2013
25   CAROLYN HUERTA, et al.              )
26                                       )
27         Defendants.                   )
28   ____________________________________)
29
30          It is stipulated between the United States Attorney’s Office for the Eastern District of
31   California by Assistant United States Attorney Jason Hitt, Esq. and Defendant Carolyn Huerta
32   through her attorney Philip Cozens, Esq., that:
33          The Sentencing Hearing currently scheduled for September 9, 2013, at 9:30 a.m. in Judge
34   Shubb’s Court be re-scheduled for October 21, 2013 at 9:30 a.m. in Judge Shubb’s Court. The
35   stipulated continuance is necessary for probation report to be prepared. Probation Officer Linda
36   Moore informed counsel that the probation report will be available next week.
37          Time should be excluded for defense attorney preparation pursuant to Local Code T4 and
38   the ends of justice outweigh the Defendant’s and the public’s interest in a speedy trial. Time




     STIPULATION FOR CONTINUANCE OF SENTENCING HEARING         -1-
3    sh
      hould be exccluded from speedy trial calculationss from Septeember 9, 20113 through aand including
                                                                                                       g
4    October
     O       21, 2013.
                 2
4           It is so
                   o stipulated.
5    Dated:
     D      Septem
                 mber 4, 2013
                            3                       /s/ JJason Hitt, Esq._____________
6                                                   Jasoon Hitt, Esq.
7                                                   Assiistant Unitedd States Attoorney
8                                                   Easttern District of Californiia
9
10                                                  /s/ P
                                                        Philip Cozenns__________________
11                                                  Phillip Cozens
12                                                  Attoorney for Deefendant Carolyn Huerta
13                                                 ORD
                                                     DER
20                  The court, having read
                                         d and considdered the aboove-stipulatioon and findinng good
21   caause therefore, orders th
                               hat the Senten
                                            ncing Hearinng currently scheduled ffor Septembeer 9, 2013, at
                                                                                                        a
22   9:30 a.m. in Judge
                  J     Shubb
                            b’s Court be re-scheduledd for Octobeer 21, 2013 aat 9:30 a.m. in Judge
23   Shubb’s Courrt. Time is excluded
                             e        forr defense attoorney preparration pursuaant to Local Code T4
24   an
      nd the court finds the en
                              nds of justicee outweigh thhe Defendannt’s and the public’s inteerest in a
25   sp
      peedy trial. Time will be excluded from
                                         f    speedy trial calculaations from S
                                                                              September 99, 2013
26    hrough and including
     th          i         Occtober 21, 20
                                         013.
21   Dated:
     D      Septeember 6, 2013
22
23
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      TIPULATION FOR
                 F   CONTINUANCE OF SEN
                                      NTENCING HEA
                                                 ARING            -2-
